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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                                               CASE NO.:

  YOSDALIS E. GARCIA,

            Plaintiff,

  v.

  AAM INSURANCE CORP,
  d/b/a UNIVISTA INSURANCE,
  ALBERTO DOMINGUEZ MENENDEZ,
  and ALAIN DOMINGUEZ MENENDEZ,
  individually

        Defendants,
  ____________________________________/

                                          COMPLAINT
                              (OPT-IN PURSUANT TO 29 U.S.C § 216(b))

            COMES NOW the Plaintiff YOSDALIS E. GARCIA by and through the undersigned

  counsel, and hereby sues corporate Defendants AAM INSURANCE CORP, d/b/a UNIVISTA

  INSURANCE,             ALBERTO    DOMINGUEZ         MENENDEZ,        and   ALAIN     DOMINGUEZ

  MENENDEZ, individually and alleges:

                               JURISDICTION VENUES AND PARTIES

       1. This is an action to recover money damages for unpaid overtime wages and retaliation

            under the laws of the United States. This Court has jurisdiction pursuant to the Fair Labor

            Standards Act, 29 U.S.C. § 201-219 (Section 216 for jurisdictional placement) ("the Act").

       2.   At all times, material hereto, Plaintiff YOSDALIS E. GARCIA (hereinafter YOSDALIS

            E. GARCIA or Plaintiff) was a resident of Dade County, Florida, within the jurisdiction of

            this Honorable Court. Plaintiff is a covered employee for purposes of the Act.



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     3. Corporate Defendant AAM INSURANCE CORP, d/b/a UNIVISTA INSURANCE

        (hereinafter UNIVISTA INSURANCE, or Defendant) is a profit Florida Corporation, and

        at all times material hereto Defendant was and is engaged in interstate commerce.

     4. The Individual Defendants ALBERTO DOMINGUEZ MENENDEZ and ALAIN

        DOMINGUEZ MENENDEZ are the owners/directors/and managers of UNIVISTA

        INSURANCE. Defendants ALBERTO DOMINGUEZ MENENDEZ and ALAIN

        DOMINGUEZ MENENDEZ are the employers of Plaintiff within the meaning of 29

        U.S.C. § 203(d).

     5. All the actions raised in this Complaint took place in Dade County, Florida, within the

        jurisdiction of this Court.

                           ALLEGATIONS COMMON TO ALL COUNTS

     6. Plaintiff YOSDALIS E. GARCIA brings this collective action for overtime compensation

        and other relief under the Fair Labor Standards Act (FLSA), 29 U.S.C. §201 et seq., on

        behalf of herself and other similarly situated employees of Defendant.

     7. Defendant UNIVISTA INSURANCE is an insurance broker or Agency with offices

        located at 9880 SW 40th Street, Miami, Florida 33165, where Plaintiff worked.

     8. Defendants UNIVISTA INSURANCE, ALBERTO DOMINGUEZ MENENDEZ, and

        ALAIN DOMINGUEZ MENENDEZ employed Plaintiff YOSDALIS E. GARCIA as a

        full-time hourly employee from on or about April 08, 2019, to February 25, 2022, or 150

        weeks.

     9. Plaintiff performed as an inside sales insurance agent. Plaintiff's primary duty was to sell

        insurance policies at the Defendants' facilities.




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     10. Plaintiff was paid an hourly rate of $16.00 an hour. Plaintiff's wage rate was $18.00 an

        hour during the last 24 weeks of employment. Plaintiff's overtime rate should be $24.00

        and $27.00 an hour.

     11. In addition to her regular wages of $640.00 or $720.00 weekly, Plaintiff received an

        average of $250.00 weekly in commissions. Plaintiff's regular rate never exceeded one and

        one-half times the applicable minimum wage for every hour worked in which overtime

        hours were worked, and Plaintiff's commissions represented less than half of her total

        earnings for a week period.

     12. Therefore, Plaintiff was not subjected to the overtime exception of Section 7(i) of the

        FLSA or any other exception. Thus, Plaintiff was entitled to be paid for overtime hours,

     13. While employed by Defendants, Plaintiff had a regular schedule. Plaintiff worked from

        Monday to Friday, from 9:00 AM to 7:00 PM (10 hours each day), or 50 hours weekly, at

        the Agency. At home, From Monday to Friday, Plaintiff completed office work for a

        minimum of 1 hour daily, or 5 hours weekly. On Saturdays and Sundays, Plaintiff usually

        worked from 10:00 AM to 2:00 PM (4 hours each day). Every week Plaintiff completed

        63 working hours.

     14. Plaintiff worked 63 hours every week. Nevertheless, Defendants paid Plaintiff just 40

        regular hours, but they did not pay her for overtime hours.

     15. Plaintiff did not clock in and out, but Defendants could track the number of hours worked

        by Plaintiff and other similarly situated individuals through a Hangout app. Plaintiff

        worked under the close supervision of the owners of the Agency, and they were in complete

        control of Plaintiff's schedule and activities. Defendants knew about the hours that Plaintiff

        was working.



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     16. Therefore, Defendants willfully failed to pay Plaintiff for all her overtime hours at the rate

        of time and one-half her regular rate for every hour that she worked in excess of forty (40),

        in violation of Section 7 (a) of the Fair Labor Standards Act of 1938 (29 U.S.C. 207(a)(1).

     17. Plaintiff was paid bi-weekly by direct deposits, without paystubs or any clear record

        providing basic information about the number of days and hours worked, wage rate paid,

        commissions earned, employee tax deductions, etc. Plaintiff was paid her commissions

        monthly.

     18. Plaintiff was not in agreement with the lack of payment for overtime hours and the number

        of commissions paid to her, and she complained once per month upon receiving her wages

        for the last three months of employment.

     19. Plaintiff complained several times to her manager about working too many hours without

        overtime pay. Defendant ALBERTO DOMINGUEZ MENENDEZ refused to pay for

        overtime hours.

     20. On or about Friday, February 25, 2022, Plaintiff sat down to talk to the owner of the

        business ALBERTO DOMINGUEZ MENENDEZ. Plaintiff demanded to be paid for

        overtime hours as required by law, and she also complained about unpaid commissions.

        The owner of the business got really angry. ALBERTO DOMINGUEZ MENENDEZ fired

        Plaintiff on the spot and told Plaintiff that he would make sure that nobody hires her and

        that he also would make sure that Plaintiff loses her license to sell insurance.

     21. At the time of her firing, Defendants refused to Pay Plaintiff her last two weeks of

        employment and her monthly commissions for an approximated value of $800.00.

     22. Plaintiff YOSDALIS E. GARCIA seeks to recover unpaid regular and overtime wages,

        unpaid commissions, retaliatory damages, and any other relief as allowable by law.



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     23. The additional persons who may become Plaintiffs in this action are employees and/or

        former employees of Defendants who are and who were subject to the unlawful payroll

        practices and procedures of Defendants and were not paid overtime wages at the rate of

        time and one half of their regular rate of pay for all overtime hours worked in excess of

        forty.

                                 COUNT I:
               WAGE AND HOUR FEDERAL STATUTORY VIOLATION;
             FAILURE TO PAY OVERTIME; AGAINST ALL DEFENDANTS

     24. Plaintiff YOSDALIS E. GARCIA re-adopts every factual allegation as stated in paragraphs

        1-23 above as if set out in full herein.

     25. This action is brought by Plaintiff YOSDALIS E. GARCIA and those similarly-situated to

        recover from the Employer unpaid overtime compensation, as well as an additional amount

        as liquidated damages, costs, and reasonable attorney's fees under the provisions of 29

        U.S.C. § 201 et seq., and specifically under the provisions of 29 U.S.C. § 207. 29 U.S.C.

        § 207 (a)(1) states, "No employer shall employ any of his employees… for a workweek

        longer than 40 hours unless such employee receives compensation for his employment in

        excess of the hours above specified at a rate not less than one and a half times the regular

        rate at which he is employed."

     26. Defendant UNIVISTA INSURANCE is engaged in interstate commerce as defined in §§

        3 (r) and 3(s) of the Act, 29 U.S.C. § 203(r) and 203(s)(1)(A). Defendant is an insurance

        broker that has more than two employees recurrently engaged in interstate commerce by

        processing credit card transactions that involve interstate banking and insurance systems;

        by performing business via interstate telephone calls or the US. Mail; by selling insurance

        policies from out-of-state companies. Upon information and belief, the annual gross



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        revenue of the Employer/Defendant was at all times material hereto in excess of $500,000

        per annum. Therefore, there is enterprise coverage.

     27. Plaintiff was employed by an enterprise engaged in interstate commerce and through her

        daily activities, Plaintiff and other employees similarly situated regularly and recurrently

        participated in interstate business by selling insurance policies from out of state companies.

        Therefore, there is individual coverage.

     28. Defendants UNIVISTA INSURANCE, ALBERTO DOMINGUEZ MENENDEZ, and

        ALAIN DOMINGUEZ MENENDEZ employed Plaintiff YOSDALIS E. GARCIA as a

        full-time hourly employee from on or about April 08, 2019, to February 25, 2022, or 150

        weeks.

     29. Plaintiff performed as an inside sales insurance agent. Plaintiff's primary duty was to sell

        insurance policies at the Defendants' facilities.

     30. Plaintiff was paid an hourly rate of $16.00 an hour. Plaintiff had a wage rate increase to

        $18.00 an hour during the last 24 weeks of employment. Plaintiff's overtime rate should be

        $24.00 and $27.00 an hour.

     31. In addition to her regular wages of $640.00 or $720.00 weekly, Plaintiff received an

        average of $250.00 weekly in commissions. Plaintiff's regular rate never exceeded one and

        one-half times the applicable minimum wage for every hour worked in which overtime

        hours were worked, and Plaintiff's commissions represented less than half of Plaintiff's

        total earning for a week period.

     32. Therefore, Plaintiff was not subjected to the overtime exception of Section 7(i) of the

        FLSA or any other exception. Thus, Plaintiff was entitled to be paid for overtime hours,




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     33. While employed by Defendants, Plaintiff had a regular schedule. Plaintiff worked from

        Monday to Friday 55 hours at the office and Saturdays and Sundays 4 hours each day at

        home, for a total of 63 hours weekly.

     34. Plaintiff worked 63 hours every week. Nevertheless, Defendants paid Plaintiff just 40

        regular hours, but they did not pay her for overtime hours.

     35. Plaintiff did not clock in and out, but Defendants could track the number of hours worked

        by Plaintiff and other similarly situated individuals through a Hangout app. Plaintiff

        worked under the close supervision of the owners of the Agency, and they were in complete

        control of Plaintiff's schedule and activities. Defendants knew about the hours that Plaintiff

        was working.

     36. Therefore, Defendants willfully failed to pay Plaintiff for all her overtime hours at the rate

        of time and one-half her regular rate for every hour that she worked in excess of forty (40),

        in violation of Section 7 (a) of the Fair Labor Standards Act of 1938 (29 U.S.C. 207(a)(1).

     37. Plaintiff was paid bi-weekly by direct deposits, without paystubs or any clear record

        providing basic information about the number of days and hours worked, wage rate paid,

        commissions earned, employee tax deductions, etc. Plaintiff was paid her commissions

        monthly.

     38. The records, if any, concerning the number of hours actually worked by Plaintiff and all

        other employees and the compensation actually paid to such employees should be in the

        possession and custody of Defendants. Nevertheless, upon information and belief,

        Defendants did not maintain accurate and complete time records of hours worked by

        Plaintiff and other employees in the asserted class.

     39. Defendants violated the record-keeping requirements of FLSA, 29 CFR Part 516.



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     40. Defendants never posted any notice to inform employees of their federal rights to overtime

        and minimum wage payments as required by the Fair Labor Standards Act and Federal

        Law.

     41. Defendants violated the Posting requirements of 29 U.S.C. § 516.4.

     42. Prior to the completion of discovery and to the best of Plaintiff's knowledge, at the time of

        the filing of this Complaint, Plaintiff's good faith estimate of unpaid wages is as follows:

               *Please note that this amount is based on a preliminary calculation and that these figures could be
               subject to modification as new evidence could dictate.

            a. Total amount of alleged unpaid wages:

                Eighty-Four Thousand Four Hundred Fifty-Six and 00/100 (84,456.00)

            b. Calculation of such wages:

                Total time of employment: 150 weeks
                Total relevant weeks of employment: 150 weeks
                Total hours worked: 63 hours weekly
                Total Overtime hours: 23 O/T hours
                Total number of unpaid O/T hours: 23 O/T hours weekly


                1.- Unpaid Overtime for 126 Weeks with 63 Hours @ $16.00 Regular Rate

                Total relevant weeks: 126 weeks
                Total hours worked: 63 hours weekly
                Total overtime hours: 63 O/T hours
                Total unpaid O/T hours: 23 O/T hours
                Regular rate: $16.00 an hour x 1.5=$24.00 O/T hour
                O/T rate: $24.00 an hour

                O/T rate $24.00 x 23 O/T hours=552.00 weekly x 126 weeks=$69.552.00

                2.- Unpaid Overtime for 24 Weeks with 63 Hours @ $18.00 Regular Rate

                Total relevant weeks: 24 weeks
                Total hours worked: 63 hours weekly
                Total overtime hours: 63 O/T hours
                Total unpaid O/T hours: 23 O/T hours
                Regular rate: $18.00 an hour x 1.5=$27.00 O/T hour
                O/T rate: $24.00 an hour

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               O/T rate $27.00 x 23 O/T hours=621.00 weekly x 24 weeks=$14,904.00

               Total #1 and #2: $84,456.00

           c. Nature of wages (e.g., overtime or straight time):

               This amount represents unpaid overtime.

     43. At all times, material hereto, the Employer/Defendant UNIVISTA INSURANCE, failed to

        comply with Title 29 U.S.C. §§ 201-219 and 29 C.F.R. § 516.2 and § 516.4 et seq. in that

        Plaintiff and those similarly-situated performed services and worked in excess of the

        maximum hours provided by the Act. Still, no provision was made by the Defendant to

        properly pay them at the rate of time and one half for all hours worked in excess of forty

        hours (40) per workweek as provided in said Act.

     44. Defendant UNIVISTA INSURANCE knew and/or showed reckless disregard of the

        provisions of the Act concerning the payment of overtime wages as required by the Fair

        Labor Standards Act and remains owing Plaintiff and those similarly-situated these

        overtime wages since the commencement of Plaintiff and those similarly-situated

        employee's employment with Defendant as set forth above, and Plaintiff and those

        similarly-situated are entitled to recover double damages.

     45. At times mentioned, individual Defendants ALBERTO DOMINGUEZ MENENDEZ and

        ALAIN DOMINGUEZ MENENDEZ were the owners/Managers of Defendant

        Corporation UNIVISTA INSURANCE. Individual Defendants ALBERTO DOMINGUEZ

        MENENDEZ and ALAIN DOMINGUEZ MENENDEZ had operational control of the

        business, they determined Plaintiff's employment terms and conditions, and they are jointly

        liable for Plaintiff's damages. The Individual Defendants ALBERTO DOMINGUEZ

        MENENDEZ and ALAIN DOMINGUEZ MENENDEZ were the employers of Plaintiff

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         and others similarly situated within the meaning of Section 3(d) of the "Fair Labor

         Standards Act" [29 U.S.C. § 203(d)]. In that, these individual Defendants acted directly in

         the interest of Defendant UNIVISTA INSURANCE in relation to the employees, including

         Plaintiff and others similarly situated. They are jointly and severally liable for Plaintiff's

         damages.

     46. Defendants UNIVISTA INSURANCE, ALBERTO DOMINGUEZ MENENDEZ, and

         ALAIN DOMINGUEZ MENENDEZ willfully and intentionally refused to pay Plaintiff

         overtime wages as required by the law of the United States and remain owing Plaintiff

         these overtime wages since the commencement of Plaintiff's employment, as set forth

         above.

     47. Plaintiff has retained the law offices of the undersigned attorney to represent her in this

         action and is obligated to pay a reasonable attorneys' fee.

                                       PRAYER FOR RELIEF

  WHEREFORE, Plaintiff YOSDALIS E. GARCIA and those similarly-situated respectfully

  request that this Honorable Court:

         A. Enter judgment for Plaintiff and others similarly situated and against the Defendants

             UNIVISTA INSURANCE, ALBERTO DOMINGUEZ MENENDEZ, and ALAIN

             DOMINGUEZ MENENDEZ based on Defendants' willful violations of the Fair Labor

             Standards Act, 29 U.S.C. § 201 et seq.; and

         B. Award Plaintiff actual damages in the amount shown to be due for unpaid overtime

             compensation for hours worked in excess of forty weekly, with interest; and

         C. Award Plaintiff an equal amount in double damages/liquidated damages; and

         D. Award Plaintiff reasonable attorneys' fees and costs of suit; and



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          E. Grant such other and further relief as this Court deems equitable and just and/or

              available pursuant to Federal Law.

                                            JURY DEMAND

  Plaintiff YOSDALIS E. GARCIA and those similarly-situated demand trial by jury of all issues

  triable as right by jury.

                                 COUNT II:
      F.L.S.A. WAGE AND HOUR FEDERAL STATUTORY VIOLATION: FAILURE TO
                 PAY MINIMUM WAGE; AGAINST ALL DEFENDANTS

      48. Plaintiff YOSDALIS E. GARCIA re-adopts every factual allegation stated in paragraphs

          1-23 of this Complaint as if set out in full herein.

      49. Defendant UNIVISTA INSURANCE is engaged in interstate commerce as defined in §§

          3 (r) and 3(s) of the Act, 29 U.S.C. § 203(r) and 203(s)(1)(A). Defendant is an insurance

          broker that has more than two employees recurrently engaged in interstate commerce by

          processing credit card transactions that involve interstate banking and insurance systems;

          by performing business via interstate telephone calls or the US. Mail; by selling insurance

          policies from out-of-state companies. Upon information and belief, the annual gross

          revenue of the Employer/Defendant was at all times material hereto in excess of $500,000

          per annum. Therefore, there is enterprise coverage.

      50. Plaintiff was employed by an enterprise engaged in interstate commerce and through her

          daily activities, Plaintiff and other employees similarly situated regularly and recurrently

          participated in interstate business by selling insurance policies from out of state companies.

          Therefore, there is individual coverage.

      51. This action is brought by Plaintiff to recover from the Employer unpaid minimum wages,

          as well as an additional amount as liquidated damages, costs, and reasonable attorney's fees



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        under the provisions of 29 U.S.C. § 201 et seq., and specifically under the provisions of 29

        U.S.C. §206. U.S.C. §206 states, "Every Employer shall pay to each of his employees who

        in any workweek is engaged in commerce or the production of goods for commerce, or is

        employed in an enterprise engaged in commerce or the production of goods for commerce,

        wages at the following rates:

         (1) except as otherwise provided in this section, not less than—

                 (A) $5.85 an hour, beginning on the 60th day after May 25, 2008;

                 (B) $6.55 an hour, beginning 12 months after that 60th day; and

                 (C) $7.25 an hour, beginning 24 months after that 60th day.

     52. Defendants UNIVISTA INSURANCE, ALBERTO DOMINGUEZ MENENDEZ, and

        ALAIN DOMINGUEZ MENENDEZ employed Plaintiff YOSDALIS E. GARCIA as a

        full-time hourly employee from on or about April 08, 2019, to February 25, 2022, or 150

        weeks.

     53. Plaintiff performed as an inside sales insurance agent. Plaintiff's primary duty was to sell

        insurance policies at the Defendants' facilities.

     54. Plaintiff was paid an hourly rate of $16.00 an hour and $18.00 an hour during the last 24

        weeks of employment.

     55. While employed by Defendants, Plaintiff had a regular schedule. Plaintiff worked from

        Monday to Friday 55 hours at the office and Saturdays and Sundays 4 hours each day, for

        a total of 63 hours weekly.

     56. Plaintiff worked 63 hours every week. Nevertheless, Defendants paid Plaintiff just 40

        regular hours, and they did not pay her for overtime hours.




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     57. Plaintiff did not clock in and out, but Defendants could track the number of hours worked

        by Plaintiff and other similarly situated individuals through a Hangout app. Plaintiff

        worked under the close supervision of the owners of the Agency, and they were in complete

        control of Plaintiff's schedule and activities. Defendants knew about the hours that Plaintiff

        was working.

     58. Therefore, Defendants willfully failed to pay Plaintiff for all her overtime hours at the rate

        of time and one-half her regular rate for every hour that she worked in excess of forty (40),

        in violation of Section 7 (a) of the Fair Labor Standards Act of 1938 (29 U.S.C. 207(a)(1).

     59. Plaintiff was paid bi-weekly by direct deposits, without paystubs or any clear record

        providing basic information about the number of days and hours worked, wage rate paid,

        commissions earned, employee tax deductions, etc. Plaintiff was paid her commissions

        monthly.

     60. On or about February 25, 2022, Plaintiff complained about her unpaid wages, and as a

        result, Defendants fired Plaintiff.

     61. At the time of her firing, Defendants refused to pay Plaintiff for her last two weeks of work.

     62. There is a substantial number of working hours that were not paid to Plaintiff at any rate,

        not even at the minimum wage rate as required by law.

     63. Plaintiff did not clock in and out, but Defendants were able to monitor the hours worked

        by Plaintiff and other similarly situated individuals.

     64. Therefore, Defendants willfully failed to pay Plaintiff minimum wages in violation of the

        Fair Labor Standards Act, 29 U.S.C. §206, et seq.




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     65. Plaintiff was paid weekly by direct deposits, without paystubs or any kind of records

        providing basic information about the number of days and hours worked, wage rate paid,

        employee taxes withheld, etc.

     66. The records, if any, concerning the number of hours worked by Plaintiff and all other

        employees and the compensation paid to such employees should be in possession and

        custody of Defendants. However, Defendants did not maintain accurate and complete time

        records of hours worked by Plaintiff and other similarly situated individuals upon

        information and belief. Defendants violated the record-keeping requirements of FLSA, 29

        CFR Part 516.

     67. Upon information and belief, Defendants never posted any notice, as required by the Fair

        Labor Standards Act and Federal Law, to inform employees of their Federal rights to

        overtime and minimum wage payments. Defendants violated the Posting requirements of

        29 U.S.C. § 516.4.

     68. Prior to the completion of discovery and the best of Plaintiff's knowledge, at the time of

        the filing of this Complaint, Plaintiff's good faith estimate of unpaid wages as follows:

        *Please note that this amount is based on preliminary calculations, and these figures could
        be subject to modifications as discovery could dictate.
         Florida's minimum wage is higher than the federal minimum wage. As per FLSA
        regulations, the higher minimum wage applies.

            a. Total amount of alleged unpaid wages:

               Eight Hundred Dollars and 00/100 ($800.00)

            b. Calculation of such wages:

               Total period of employment: 150 weeks
               Total relevant weeks:150 weeks
               Total number of unpaid weeks: 2 weeks
               Total hours worked: 40 hours weekly
               Rate paid: $18.00 an hour

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               Florida minimum wage 2022: $10.00

               Min. wage $10.00 x 40 hours= $400.00 weekly x 2 weeks=$800.00

            c. Nature of wages:

               This amount represents unpaid minimum wages at the Florida minimum wage rate.

     69. Defendants unlawfully failed to pay minimum wages to Plaintiff. Plaintiff seeks to recover

        for minimum wages violations accumulated during her relevant time of employment.

     70. Defendants knew and showed reckless disregard about the provisions of the Act concerning

        the payment of minimum wages as required by the Fair Labor Standards Act and remain

        owing Plaintiff these minimum wages.

     71. At times mentioned, individual Defendants ALBERTO DOMINGUEZ MENENDEZ and

        ALAIN DOMINGUEZ MENENDEZ were the owners/Managers of Defendant

        Corporation UNIVISTA INSURANCE. Individual Defendants ALBERTO DOMINGUEZ

        MENENDEZ and ALAIN DOMINGUEZ MENENDEZ had operational control of the

        business, they determined Plaintiff's employment terms and conditions, and they are jointly

        liable for Plaintiff's damages. The Individual Defendants ALBERTO DOMINGUEZ

        MENENDEZ and ALAIN DOMINGUEZ MENENDEZ were the employers of Plaintiff

        and others similarly situated within the meaning of Section 3(d) of the "Fair Labor

        Standards Act" [29 U.S.C. § 203(d)]. In that, these individual Defendants acted directly in

        the interest of Defendant UNIVISTA INSURANCE in relation to the employees, including

        Plaintiff and others similarly situated. They are jointly and severally liable for Plaintiff's

        damages.

     72. Defendants UNIVISTA INSURANCE, ALBERTO DOMINGUEZ MENENDEZ, and

        ALAIN DOMINGUEZ MENENDEZ willfully and intentionally refused to pay Plaintiff



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          minimum wages as required by the law of the United States and remain owing Plaintiff

          these minimum wages as set forth above.

      73. Plaintiff has retained the law offices of the undersigned attorney to represent her

          individually and on behalf of the asserted class and incurred attorney's fees and costs in

          bringing this action. Pursuant to 29 U.S.C § 216 (b), Plaintiff is entitled to recover

          reasonable attorney's fees and costs.

                                         PRAYER FOR RELIEF

  WHEREFORE, Plaintiff YOSDALIS E. GARCIA respectfully requests that this Honorable Court:

         A. Enter judgment for Plaintiff YOSDALIS E. GARCIA and against the Defendants

             UNIVISTA INSURANCE, ALBERTO DOMINGUEZ MENENDEZ, and ALAIN

             DOMINGUEZ MENENDEZ based on Defendants' willful violations of the Fair Labor

             Standards Act, 29 U.S.C. § 201 et seq. and other Federal Regulations; and

         B. Award Plaintiff actual damages in the amount shown to be due for unpaid minimum

             wages, with interest; and

         C. Award Plaintiff an equal amount in double damages/liquidated damages; and

         D. Award Plaintiff reasonable attorneys' fees and costs of suit; and

         E. Grant such other and further relief as this Court deems equitable and just and/or

             available pursuant to Federal Law.

                                           JURY DEMAND

  Plaintiff YOSDALIS E. GARCIA and those similarly situated demand trial by a jury of all issues

  triable as of right by a jury.

                               COUNT III:
         FEDERAL STATUTORY VIOLATION PURSUANT TO 29 U.S.C. 215 (a)(3)
             RETALIATORY DISCHARGE; AGAINST ALL DEFENDANTS



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     74. Plaintiff re-adopts every factual allegation stated in paragraphs 1-23 of this Complaint as

        if set out in full herein.

     75. Defendant UNIVISTA INSURANCE is engaged in interstate commerce as defined in §§

        3 (r) and 3(s) of the Act, 29 U.S.C. § 203(r) and 203(s)(1)(A). Defendant is an insurance

        broker that has more than two employees recurrently engaged in interstate commerce by

        processing credit card transactions that involve interstate banking and insurance systems;

        by performing business via interstate telephone calls or the US. Mail; by selling insurance

        policies from out-of-state companies. Upon information and belief, the annual gross

        revenue of the Employer/Defendant was at all times material hereto in excess of $500,000

        per annum. Therefore, there is enterprise coverage.

     76. Plaintiff was employed by an enterprise engaged in interstate commerce. Through her daily

        activities, Plaintiff and other employees similarly situated regularly and recurrently

        participated in interstate business by selling insurance policies from out-of-state

        companies. Therefore, there is individual coverage.

     77. Defendant's business activities involve those to which the Fair Labor Standards Act

        applies.

     78. 29 U.S.C. § 207 (a) (1) states, "if an employer employs an employee for more than forty

        hours in any workweek, the employer must compensate the employee for hours in excess

        of forty at the rate of at least one and one-half times the employee's regular rate…"

     79. 29 U.S.C. § 206 (a) (1) states, "….an Employer must pay a minimum wage of $5.15/hr. to

        an employee who is engaged in commerce...." [29 U.S.C. § 206 (a) (1)].

     80. Likewise, 29 U.S.C. 215(a)(3) states... it shall be unlawful for any person— "to discharge

        or in any other manner discriminate against any employee because such employee has filed



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        any complaint or instituted or caused to be instituted any proceeding under or related to

        this chapter, or has testified or is about to testify in any such proceeding,......"

     81. Defendants UNIVISTA INSURANCE, ALBERTO DOMINGUEZ MENENDEZ, and

        ALAIN DOMINGUEZ MENENDEZ employed Plaintiff YOSDALIS E. GARCIA as a

        full-time hourly employee from on or about April 08, 2019, to February 25, 2022, or 150

        weeks.

     82. Plaintiff performed as an inside sales insurance agent. Plaintiff's primary duty was to sell

        insurance policies at the Defendants' facilities.

     83. Plaintiff was paid an hourly rate of $16.00 an hour and $18.00 an hour during the last 24

        weeks.

     84. While employed by Defendants, Plaintiff had a regular schedule. Plaintiff worked from

        Monday to Friday 55 hours at the office and Saturdays and Sundays 4 hours each day at

        home, for a total of 63 hours weekly.

     85. Plaintiff worked 63 hours every week. Nevertheless, Defendants paid Plaintiff just 40

        regular hours, and they did not pay her for overtime hours.

     86. Plaintiff did not clock in and out, but Defendants could track the number of hours worked

        by Plaintiff and other similarly situated individuals through a Hangout app. Plaintiff

        worked under the close supervision of the owners of the Agency, and they were in complete

        control of Plaintiff's schedule and activities. Defendants knew about the hours that Plaintiff

        was working.

     87. Therefore, Defendants willfully failed to pay Plaintiff for all her overtime hours at the rate

        of time and one-half her regular rate for every hour that she worked in excess of forty (40),

        in violation of Section 7 (a) of the Fair Labor Standards Act of 1938 (29 U.S.C. 207(a)(1).



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     88. Plaintiff was paid bi-weekly by direct deposits, without paystubs or any clear record

        providing basic information about the number of days and hours worked, wage rate paid,

        commissions earned, employee tax deductions, etc. Plaintiff was paid her commissions

        monthly.

     89. Plaintiff was not in agreement with the lack of payment for overtime hours and the number

        of commissions paid to her, and she complained once per month upon receiving her wages

        for the last three months.

     90. Plaintiff complained several times to her manager about working too many hours without

        overtime pay. Defendant ALBERTO DOMINGUEZ MENENDEZ refused to pay for

        overtime hours.

     91. These complaints constituted protected activity under the Fair Labor Standards Act.

     92. On or about Friday, February 25, 2022, Plaintiff sat down to talk to the owner of the

        business ALBERTO DOMINGUEZ MENENDEZ. Plaintiff demanded to be paid for

        overtime hours as required by law, and she also complained about unpaid commissions.

     93. However, the owner of the business ALBERTO DOMINGUEZ MENENDEZ got really

        angry. ALBERTO DOMINGUEZ MENENDEZ fired Plaintiff on the spot and told

        Plaintiff that he would make sure that nobody hires her, and he also would make sure that

        Plaintiff loses her license to sell insurance.

     94. At the time of her firing, Defendants refused to Pay Plaintiff her last two weeks of

        employment and her monthly commissions for an approximated value of $800.00.

     95. There is a substantial number of working hours that were not paid to Plaintiff at any rate,

        not even at the minimum wage rate as required by law.




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     96. Therefore, Defendants willfully failed to pay Plaintiff minimum wages in violation of the

        Fair Labor Standards Act, 29 U.S.C. §206, et seq. also.

     97. On or about February 25, 2022, Defendants fired Plaintiff due to her complaints about

        overtime hours and commissions.

     98. There is close proximity between Plaintiff's last protected activity and her termination.

     99. During her employment with Defendants, Plaintiff performed her duties satisfactorily.

        There was no reason other than a retaliatory action to terminate Plaintiff's employment with

        Defendant.

     100.       At   times   mentioned,     individual   Defendants    ALBERTO       DOMINGUEZ

        MENENDEZ and ALAIN DOMINGUEZ MENENDEZ were the owners/Managers of

        Defendant Corporation UNIVISTA INSURANCE. Individual Defendants ALBERTO

        DOMINGUEZ MENENDEZ and ALAIN DOMINGUEZ MENENDEZ had operational

        control of the business, they determined Plaintiff's employment terms and conditions, and

        they are jointly liable for Plaintiff's damages. The Individual Defendants ALBERTO

        DOMINGUEZ MENENDEZ and ALAIN DOMINGUEZ MENENDEZ were the

        employers of Plaintiff and others similarly situated within the meaning of Section 3(d) of

        the "Fair Labor Standards Act" [29 U.S.C. § 203(d)]. These individual Defendants acted

        directly in the interest of Defendant UNIVISTA INSURANCE in relation to the

        employees, including Plaintiff and others similarly situated. They are jointly and severally

        liable for Plaintiff's damages.

     101.       The Defendants' retaliatory termination of Plaintiff was in direct violation of 29

        U.S.C. 215 (a) (3), and, as a direct result, Plaintiff has been damaged.




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      102.             Plaintiff YOSDALIS E. GARCIA seeks to recover unpaid overtime wages,

         retaliatory damages, and any other relief allowed by law.

      103.             Plaintiff has retained the law offices of the undersigned attorney to represent her in

         this action and is obligated to pay a reasonable attorneys' fee.

                                               PRAYER FOR RELIEF

  WHEREFORE, Plaintiff YOSDALIS E. GARCIA respectfully requests that this Honorable Court:

       A. Issue a declaratory judgment that the Defendants' acts, policies, practices, and procedures

             complained of herein violated provisions of the Fair Labor Standards Act;

       B. Enter         judgment     against    Defendants     UNIVISTA       INSURANCE,        ALBERTO

             DOMINGUEZ MENENDEZ, and ALAIN DOMINGUEZ MENENDEZ that Plaintiff

             YOSDALIS E. GARCIA recovers compensatory damages and an equal amount of

             liquidated damages as provided under the law and in 29 U.S.C. § 216(b);

       C. That Plaintiff recovers an award of reasonable attorney fees, costs, and expenses.

       D. Order the Defendants to make whole the Plaintiff by providing appropriate back pay and

             other benefits wrongly denied in an amount to be shown at trial and other affirmative

             relief;

       E. Plaintiff YOSDALIS E. GARCIA further prays for such additional relief as the interests

             of justice may require.

                                                 JURY DEMAND

         Plaintiff YOSDALIS E. GARCIA demands a trial by jury of all issues triable as of right

  by jury.

  DATED: April 27, 2022

                                                         Respectfully submitted,
                                                         By: _/s/ Zandro E. Palma____

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